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      ^ fc ^
                                                   Case: 2:20-cr-00203-SDM Doc #: 752 Filed: 05/16/25 Page: 1 of 7 PAGEID #: 4000




y^
l^'
            Case: 2:20-cr-00203-SDM Doc #: 752 Filed: 05/16/25 Page: 2 of 7 PAGEID #: 4001


Keith Yeazel

From:                                    Kevin Durkin <kevindurkin50@gmail. com>
Sent:                                    Tuesday, January 21, 2025 3:18 PM
To:                                      Keith
Subject:                                 Maye



Keith,

  Mr. Maye is requesting documents related to the Search Warrant referred to below:

 SUBJECT:RiccoMayeCellphoneanalysis,fromWltitehallSW
 Duringthis investigatitMi,CentralOhio HainanTrafficTaskForceAgentsbecameawareofa searchwarrant
 thatwasexecutedbyWhitehallPoiictBepartnentonRIccoMayesresidencein Januaryof2019. Outof
 Wtiitehall'ssearchwarrant.TaskForceAgentsfoundthatscvcniljtcms wereseizedandsubmittedasevidenci
 totiicWhitchattPoliceDepartmentpropert^room. dnntt|lj0hio HumanTrafficlcirigTaskFprceAgents
 recovered iihdseifctns. iSpmWhiteIiall and::Swk,^Sto^o)TiBio devices. The devices wensttieh
 ColumbAiPqlioe. Dep^n^pn^eriyroo^'I^Fcu^Ag^                                      a search^ivanant fin-the
 dcvii^'ai^^d^^tS^iiiiadent.'I^sa^                                     byFiaiiktiaiCouDty:Muni<a]palCouH
 Jydgsp*Ora3y6!nAugtifEt31,S020.
 Task Force Agents transported the devices to Ohio Department of Public Safety digital forensic unit for
 processing.A complete forensicreport wascompletedandwill beattachedin its entiretyupon request.Listed
 below, is a summaryoftheforeasicreportfor thecellphonethatwasrecovered.
 TaskForceAgents identifiedtiiisdevicebelonging(o RiccoMaye,ashisnumberwasidentifiedbymultiple
 sources.It wasalsoconfinnedthat hewastheownerbasedon theconversationswheretheyreferredto Mr.
 Maycbyname.
 Extraction Summary
 Make: Sannsung
 Model: Note 9
 IMEI: 358620090250567                                                  ^      p^'/ ^^^ ^^
 PhoneNumber;(614)620-3738
                                                                  p.i^ .^ /^. ^/^
                                                              ^ ^WZ ^o ^^
                                                              .




Kevin Durkin                                              e^'i ^ ^                    c^ / ^                 J/
65 S. Washington Ave #1 05
Columbus, Ohio 43215
                                                        WH ^he^ ^ ^l/e- ^c^^ ff/^
(614)323-0316 (cell)                                 ^ ff^^^i/jb ^ w^ -/^^u
                                                     ^.7 /^/- y^r ^- ^^ ^
                                                     w^ ^ ^^^ ~^^ ^
           Case: 2:20-cr-00203-SDM Doc #: 752 Filed: 05/16/25 Page: 3 of 7 PAGEID #: 4002




                                 Case No._




                                 Franklin County Municipal col^figQ» -} ^H^: 46
                                                 Columbus, Ohio
                                                                                FRANKUN COUNTY
                                                                                '^»"w.s^'
                                           THE STATE OF OHIO
                                                        vs.

                                  CellularPhone(s) belongingto Ricco Maye
                                Black Cellular PhoneIMEI^358620090250567
                                        PhoneNumbers: (614) 620-3738



                                          SEARCH WARRANT
                             Forthepurposeoflocating, seizingandprocessing;
                                     Trafficking in Persons O. R. C S29Q5. 32
                                     Trafficking in Drugs O.R.C §2925. 03




             Filed
                                                           7
                            u
                     Clerk of ihep                  ity Municipal Court

             By_                                                                   ^ Deputy Clerk



                                         Ordered on Affidavit of

                                       Detective Brandon Harmon #151
                                                    HTTF
                                        Columbus Division of Police



rt:
rw. Z'19
     Case: 2:20-cr-00203-SDM Doc #: 752 Filed: 05/16/25 Page: 4 of 7 PAGEID #: 4003
 Case: 2:20-cr-00203-SDM Doc #: 748 Filed: 04/30/25 Page: 129 of 134 PAGEID #: 3985
                                                                            129
     1    was prior tips involving Ricco prior to my -- prior to my time

 2        on the   task     force.

     3             So, with that, the earlier investigator that was working

 4        that   case     and Whitehall   were    in    cominunication.

 5                 So, once the 17th Street search warrant happened, those

 6        two had exchanged the property               and took it     over into CPD

 7        custody.

 8                 When I     came on the   time       task   force   and then when

 9       Mark Young was phasing out of the task force, the other

10       detective,       I had then gained control over the property that

11       was in the Columbus Police property room.

12          Q.     And you sought -- you sought and successfully obtained

13       an extraction report from that phone?

14          A.     I got the phone --

15          Q.     Yes.

16          A.     -- and then turned it over to Sam Chappell.

17          Q.     All right.        And did you seek to get a search warrant to

18       give you authority          to extract    information        from them?

19          A.     I don't believe I -- without refreshing my memory, I

20       don't   believe     it   was me that     wrote   that   search    warrant. I

21       believe that it was Agent Chappell.

22          Q.     Okay.     But, ultimately, w^s a warrant issued?

23         A.      Yes.

24         Q.      All right.        By, obviously, somebody authorized to do

25       that?
  Case: 2:20-cr-00203-SDM Doc #: 752 Filed: 05/16/25 Page: 5 of 7 PAGEID #: 4004
 Case: 2:20-cr-00203-SDM Doc #: 748 Filed: 04/30/25 Page: 130 of 134 PAGEID #: 3986
                                                                  130
         A.      Correct.


         Q.      All right.        Earlier in the trial,   was an ad that was

      posted on or about December 19th, 2019, by Ms. McCoy, was

      that    -- was that one of the ads that was published?

         A.      I don't believe we have published an ad for Melanie

      McCoy.

                      MR. DURKIN:    Okay.    Thank you.   Give me just a moment.

      Let me -- I'm sure I'll          be told I forgot    something.   So, Your

 9    Honor,     if    I can just have a moment.

10                    THE COURT:    You may, of course.

11               (Pause in proceedings.)

12                    MR. DURKIN:    Your Honor, thank you.     I have no further

13    questions        of this witness.

14                    THE COURT:    Okay.    Thank you.

15             Ms. Hill,      redirect?

16                    MS. HILL:    Briefly, Your Honor.

17

18                                  REDIRECT EXAMINATION

19      BY MS. HILL:

20      Q.     There was a little -- one thing I want to clear up just

21    quickly,        'cause on direct,     you said that you got all the phones

22    and you gave them to Josh Saltar, right?

23      A.     Yes.

24      Q.     And you just said you gave the phone to Sam.

25      A.     So,     Josh Saltar did the cell phone extraction.
  Case: 2:20-cr-00203-SDM Doc #: 752 Filed: 05/16/25 Page: 6 of 7 PAGEID #: 4005
 Case: 2:20-cr-00203-SDM Doc #: 748 Filed: 04/30/25 Page: 131 of 134 PAGEID #: 3987
                                                                           131
 1       Q.    Okay.

 2       A.    Sam had the phone in ATF custody -- that's where we kept

 3    the phone as evidence.

 4       Q.    Okay.       So, it went to Sam first and then to Josh to get
 5    the extraction and then back to Sam? ^
                                                           ^ °s^
                                                           -^ s^^
                                                           e
 6       A.    Yes.
                                                               ^^     0'
 7       Q.    Okay.       It's not in your custody.           You are not allowed to

 8    hold -- take care of the phones?

 9       A.    No,    I'm not.    Right.

10       Q.    Defense counsel asked you a number of questions about

11    the rat poison and who told you what about who had rat poison

12    and who didn't.             ^^ 11^, ^ ^^                        /^ ^^
                                  -ffti Ai ^ ^M^          ^ctAV   -
                                                                      ~^'^ ^o^
13       A.    Right.
                                  ^£^        /£-ff^
14       Q.    Do    you   remember   who   told   you   thatfA shleigh      Davis   was



15    part of that?         Because you said it wasn't Ashleigh or Nicole

16    Groves or Vincent Morrow.             Do you remember --

17       A.    I said it wasn't Ashleigh or Vincent.                   I believe it was

18    Nicole Groves that had originally mentioned that it was

19    supposed to be brought up by Ashleigh and Vincent Morrow to the

20    house.

21       Q.    Okay.       And in regards to this rat poison,              defense

22    counsel asked you, you know, what would have happened if

23    Nicole Groves had done something more with the rat poison

24    that was supposed to go to Kevin Pearson.

25             Is Kevin Pearson still          alive?
     Case: 2:20-cr-00203-SDM Doc #: 752 Filed: 05/16/25 Page: 7 of 7 PAGEID #: 4006
     Case: 2:20-cr-00203-SDM Doc #: 748 Filed: 04/30/25 Page: 43 of 134 PAGEID #: 3899
                                                             43
     1      Q.     Where were the phones seized from that you reviewed the

     2    extractions      for?

     3      A.     I reviewed the extractions        from the Sagamore search

     4    warrant.      There was a traffic    stop that was conducted on Ricco

     5    a few months prior      to.

     6            I   reviewed the cell     phone extraction     from the Riverside

     7    Hospital incident that we heard Melanie McCoy's testimony on

     8    and then the -- reviewed a phone belonging to Ricco from the

     9   North 17th Whitehall search warrant.

10          Q.    Very good.      Now, you said you reviewed extractions.            Did

11       you do the extractions         of those devices?

12          A.    I   did not.

13          Q.    Do you know how to do that?

14          A.    No.

15          Q.    Did you ask someone else to do that to assist you?

16         A.     I did.

17          Q.    Who was that?

18         A.     FBI Special Agent Josh Saltar.

19         Q.    And Josh Saltar knows how to do that?

20         A.    He does.

21         Q.     So, what did you give to FBI Special Agent Josh Saltar?
                                                 i/ 9A^i /r Oiftkc^ ^ ^o^
22         A.
                 The cellular devices.          '^ 9A^ ^ P^^Y
23         Q.    And did you receive anything back from him?

24

25
           A.

           Q.
                 His extraction reports.

                 And what did you do with all         of that?
                                                                      //£^
                                                                      ^^ u^
